
USCA1 Opinion

	










                            UNITED STATES COURT OF APPEALS
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                FOR THE FIRST CIRCUIT

                              _________________________

          No. 96-2273

                              UNITED STATES OF AMERICA,

                                      Appellee,

                                          v.

                                  DAVID S. McKEEVE,

                                Defendant, Appellant.

                              _________________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                     [Hon. Robert E. Keeton, U.S. District Judge]
                                             ___________________

                              _________________________

                                        Before

                                Selya, Circuit Judge,
                                       _____________

                            Aldrich, Senior Circuit Judge,
                                     ____________________

                              and Boudin, Circuit Judge.
                                          _____________

                              _________________________

               Daniel  L. Sharp,  with  whom  Elaine  Whitfield  Sharp  and
               ________________               ________________________
          Whitfield, Sharp &amp; Sharp were on brief, for appellant.
          ________________________
               Despena Fillios Billings,  Assistant United States Attorney,
               ________________________
          with whom Donald K. Stern,  United States Attorney, was on brief,
                    _______________
          for appellee.

                              _________________________


                                   December 5, 1997
                              _________________________




















                    SELYA,  Circuit Judge.    Defendant-appellant David  S.
                    SELYA,  Circuit Judge.
                            _____________

          McKeeve assembles  a litany of  alleged errors in protest  of his

          conviction  and  sentence.   His  flagship claim  requires  us to

          investigate  the  circumstances  under  which  the  Confrontation

          Clause  allows  a  prosecution  witness  to  testify  by  foreign

          deposition  over  the  defendant's  objection.    After carefully

          considering  this issue  (a matter  of  first impression  in this

          circuit) and assaying the appellant's other points, we affirm.

          I.  BACKGROUND
          I.  BACKGROUND

                    Mindful of the appellant's challenge to the sufficiency

          of  the evidence, we limn the  facts in the light most flattering

          to the jury's verdict.  See United States v. Staula, 80 F.3d 596,
                                  ___ _____________    ______

          599 (1st Cir.), cert. denied, 117 S. Ct. 156 (1996).
                          _____ ______

                    The appellant and his business partner, Shelagh McNeil,

          both   citizens  of   the   United   Kingdom,   operated   McNeil

          International,  Ltd. (MIL), a company organized under the laws of

          Scotland.    Through   it,  the  pair  brokered   various  export

          transactions.  In  1994, Peter Sullivan, the owner  of Afromed (a

          Maltese firm), approached  the appellant about acquiring  a large

          quantity  of  computer  equipment  for  the  Libyan   government.

          McKeeve agreed to handle the transaction and began to investigate

          its logistical aspects.

                    McKeeve contacted  the United  Kingdom's Department  of

          Trade and Industry (DTI) to ascertain whether British authorities

          would require  him to obtain  an export license to  ship computer

          equipment from the United Kingdom to Libya.  DTI advised him that


                                          2














          he  probably needed  such a  license, and  at  some point,  a DTI

          official also informed  him that most computer  equipment shipped

          to Libya wound  up in munitions factories.   Hot on the  heels of

          this contact,  Eric Lane,  an investigator  for British  Customs,

          paid the appellant  a visit.  Lane stated  that U.S. restrictions

          on trade with Libya were more stringent than those of the  United

          Kingdom,  and advised  McKeeve that  he  should confer  with U.S.

          Customs  if he contemplated exporting computer equipment from the

          United States.

                    During  the fall  of 1995  the  appellant designated  a

          Massachusetts  firm, New England Computer Exchange (NEXL), as the

          vendor  of  choice to  supply  the  $300,000  worth  of  computer

          equipment   needed  to  fill   Afromed's  order.     When  NEXL's

          representatives (Cliff Rucker  and Deepak Jain) learned  that the

          appellant wanted to  transship the equipment  through Cyprus    a

          notorious   clearinghouse  for   goods  destined   for  embargoed

          countries    they expressed  concern about  the ultimate  resting

          place of the computer equipment.  The appellant prevaricated  and

          told them that the goods were bound for Ethiopia.

                    McKeeve  and   McNeil  proceeded   to  instruct   their

          stateside  shipping agent,  Peabody and  Lane  (P&amp;L), to  arrange

          shipment only as far as  Cyprus.  Simultaneously, they directed a

          British  shipping   agent,  Alex  Redpath,  to   arrange  freight

          forwarding  to  Libya  and, when  Redpath  warned  that the  U.S.

          trading  embargo  posed  potential  difficulties,  the  appellant

          merely reiterated the instruction.


                                          3














                    On  October 12, 1995, the appellant oversaw the packing

          of  the  computer  equipment  at  NEXL's  warehouse  in  Reading,

          Massachusetts.   A  trucker delivered  the goods,  in  a shipping

          container,  to port in  Charlestown, Massachusetts.   Acting on a

          tip, the U.S. Customs Service ordered the container held at port.

          Because this delay  threatened to undercut  the letter of  credit

          that Afromed  had produced  to pay for  the goods,  the appellant

          flew to Malta and met with Sullivan.

                    At about the same time, the appellant instructed P&amp;L to

          discharge  the computer  equipment in  Antwerp,  Belgium (a  port

          through  which it  already  was  scheduled to  pass  en route  to

          Cyprus).   When a  P&amp;L agent informed  McNeil about  this change,

          McNeil  advised her  to  maintain  Cyprus as  the  port of  final

          destination.    The  appellant  subsequently  confirmed  McNeil's

          instruction.

                    Despite  these  machinations,  the  computer  equipment

          stayed put.  Although it originally was due to depart Charlestown

          on October 18, it remained on customs hold a full week later.  On

          October  25, McNeil contacted  NEXL's chief executive  and stated

          that if he (Rucker) did not sign the Shipper's Export Declaration

          (SED), a  U.S. Customs  export document  that lists, among  other

          things, the ultimate destination of  the goods, no payment  would

          be  forthcoming.   McNeil transmitted  an unsigned SED  to Rucker

          that listed "Cyprus, Greece" as  the port of unloading and Greece

          as the country of ultimate  destination.  Rucker called McNeil to

          report  the apparent  discrepancy and  McNeil  instructed him  to


                                          4














          delete  Greece and  insert Ethiopia  as the  country of  ultimate

          destination.  Rucker made the requested changes, signed  the SED,

          and transmitted a facsimile to McNeil.  Notwithstanding the newly

          executed SED, the customs hold endured.

                    On   October  31,  the   U.S.  Customs  Service  became

          convinced  that the  appellant  sought surreptitiously  to export

          goods to Libya.  A customs agent, posing as a seaport supervisor,

          convinced  the  appellant  to  return to  Boston  and  address  a

          paperwork snafu that ostensibly prevented vacation of the customs

          hold.  During a meeting  with undercover customs agents, captured

          on  videotape,  the   appellant  vouchsafed  that  the   computer

          equipment  was  destined for  Ethiopia  and signed  a  false SED.

          Shortly thereafter, the  authorities arrested him and  seized the

          computer equipment.

                    A  federal grand jury indicted the appellant on charges

          that  he  knowingly  violated  the  International  Emergency  and

          Economic Powers Act  (IEEPA), 50 U.S.C.     1701-1706 (1994), and

          its  associated Executive Orders and regulations, Exec. Order No.

          12,924,  3 C.F.R. 917  (1994) &amp; Exec. Order  No. 12,543, 3 C.F.R.

          181 (1986),  both reprinted  in 50  U.S.C.    1701;  31 C.F.R.   
                       ____ _________  __

          550.202 (1997);  15 C.F.R.     774.1,  785.7(a), 787.3(a),  787.6

          (1997); conspired to  violate IEEPA, 18 U.S.C.    371 (1994); and

          made false  statements to the  U.S. Customs Service, 18  U.S.C.  

          1001 (1994).  The grand jury also indicted McKeeve's and McNeil's

          corporation, MIL, on  several related counts, but did  not charge

          it with participating  in the conspiracy.  The  bill named McNeil


                                          5














          as an unindicted coconspirator, but  neither she nor Sullivan was

          named as  a defendant (presumably  because they  were beyond  the

          court's jurisdiction).

                    At  trial, the appellant admitted that Libya always had

          been  the  intended  destination  for  the   computer  equipment.

          Nevertheless,  he professed that  he only belatedly  became aware

          that his actions might violate U.S. law and that, when he learned

          of  the problem,  he  tried  to "slow  down"  the transaction  by

          discharging  the equipment  in Antwerp for  eventual sale  in the

          United Kingdom.   He  attempted to explain  away his  false claim

          that Ethiopia  was  the  country  of ultimate  destination  as  a

          standard   broker's  business  practice   designed  to  mask  his

          customer's identity.

                    The jury  weighed  the  evidence,  concluded  that  the

          appellant  knew   all  along   that  U.S.   law  prohibited   the

          transaction,  and convicted  him on  all counts.   The  jury also

          found MIL guilty  as charged.  The district  court sentenced both

          defendants, but only McKeeve perfected an appeal.

          II.  THE FOREIGN DEPOSITION
          II.  THE FOREIGN DEPOSITION

                    The  appellant objects in this court,  as he did below,

          to admission at trial of  the deposition testimony of the British

          shipping  agent, Alex Redpath.   His cardinal  contention is that

          the  admission of  this evidence  abrogated his rights  under the

          Confrontation Clause.  We exercise plenary review over this claim

          of constitutional error.   See United States v.  Stokes, 124 F.3d
                                     ___ _____________     ______

          39, 42 (1st Cir. 1997).


                                          6














                                A.  Setting the Stage.
                                A.  Setting the Stage
                                    _________________

                    The parties   who agree on little else   share the view

          that  Redpath  was a  key  witness.   Initially,  the prosecution

          gained  Redpath's assurances that  he would travel  to the United

          States  and  testify at  the  trial.   As  the  day  of reckoning

          approached, Redpath experienced a  change of heart.   Because the

          district  court lacked subpoena power over Redpath (who lived and

          worked  in Great  Britain),  the government  moved  for leave  to

          depose him  abroad.   The motion invoked  a procedural  rule that

          provides in pertinent part:

                    Whenever due to  exceptional circumstances of
                    the case  it is  in the  interest of  justice
                    that the testimony  of a prospective  witness
                    of a party be taken  and preserved for use at
                    trial,  the court  may  upon motion  of  such
                    party and  notice to  the parties  order that
                    testimony  of   such  witness  be   taken  by
                    deposition . . . .

          Fed. R. Crim. P. 15(a).

                    The government proposed  to mitigate any  Confrontation

          Clause  issues by transporting  the appellant and  his counsel to

          the site of the deposition and videotaping the proceedings.  This

          proposal proved problematic  for two  reasons.   First, the  U.S.

          Marshals  Service lacks jurisdiction to retain custody of federal

          detainees on foreign soil and the Central Authority of the United

          Kingdom would not agree to assume temporary custody of McKeeve so

          that   he  could  attend   the  deposition.1     Second,  British
                              
          ____________________

               1The  appellant asserts that  the government did  not make a
          bona  fide effort  to  facilitate  his  attendance  at  Redpath's
          deposition.    The  record,  which  includes  the  correspondence
          between the two governments, refutes this assertion.

                                          7














          magistrates typically prohibit the videotaping and audiotaping of

          depositions,  and  made  no  exception  in  this  instance.   The

          district  court nonetheless found that Redpath was an unavailable

          witness   and  that  the   interest  of  justice   warranted  the

          deposition.   Working  within the  spare confines of  the British

          scheme,  the court  directed  the  government  to  transport  the

          appellant's  attorney  to  the  deposition  and  to  install  two

          telephone lines    one that would allow the  appellant to monitor

          the deposition from his prison  cell and another that would allow

          him to consult privately with counsel during the deposition.  The

          court  reserved a ruling  on the Confrontation  Clause objections

          until the time of trial.

                    Redpath's  deposition   was  taken  before   a  British

          magistrate  in  the  Solihull  Magistrates'  Court,   Birmingham,

          England.    Lawyers for  the government  and for  both defendants

          attended and questioned  the deponent.  A solicitor  (who doubled

          in    brass   as   the   clerk   of   the   Magistrates'   Court)

          contemporaneously prepared a transcript.  The appellant monitored

          the proceedings  by  means of  a  live telephone  link.   At  the

          conclusion of the session, the solicitor certified the transcript

          as accurate  and forwarded it  to the  district court.   When the

          prosecution subsequently offered the  deposition at trial,  Judge

          Keeton  overruled  the  appellant's objections  and  allowed  the

          government to read it into evidence.

                               B.  The Legal Landscape.
                               B.  The Legal Landscape.
                                   ___________________

                    The use of  deposition testimony in criminal  trials is


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          disfavored, largely  because such  evidence tends  to diminish  a

          defendant's  Sixth Amendment  confrontation rights.   See,  e.g.,
                                                                ___   ____

          United States  v. Drogoul,  1 F.3d 1546,  1551 (11th  Cir. 1993);
          _____________     _______

          United States v.  Mann, 590 F.2d 361,  365 (1st Cir. 1978).   But
          _____________     ____

          the  shrinking size  of  the globe  means  that certain  criminal

          activities  increasingly  manifest an  international  cachet and,

          because  federal courts  frequently lack  the  power to  compel a

          foreign national's  attendance at  trial, Rule  15 may  offer the

          only  practicable  means  of procuring  critical  evidence.   The

          resultant  tension between  the defendant's  Confrontation Clause

          rights and the prosecution's need to obtain evidence from persons

          domiciled abroad, while  new to this circuit, threatens to become

          a recurring theme.

                    The  various subsections of  Rule 15 govern  the method

          and  manner by  which depositions  in  criminal cases  are to  be

          taken.   The  appellant  tacitly  concedes  that  the  taking  of

          Redpath's  deposition  did  not   contravene  the  rule's  formal

          requirements.    Nevertheless,  compliance  with  Rule  15  is  a

          necessary,  but  not  sufficient,  condition  to  the  use  of  a

          deposition at trial.  The admissibility of the testimony is quite

          another  matter.   See Fed.  R. Crim.  P. 15(e).   The  appellant
                             ___

          cloaks himself  in  the mantle  of the  Confrontation Clause  and

          makes his stand at this juncture.

                    The Confrontation Clause's "central concern . . . is to

          ensure  the  reliability  of  the  evidence  against  a  criminal

          defendant by subjecting it to  rigorous testing in the context of


                                          9














          an adversary proceeding  before the trier of fact."   Maryland v.
                                                                ________

          Craig,  497 U.S.  836, 845  (1990).   The  Clause addresses  that
          _____

          concern principally by  affording a criminal defendant  the right

          to confront  appearing witnesses  face to face  and the  right to

          conduct rigorous cross-examination  of those witnesses.   See Coy
                                                                    ___ ___

          v. Iowa, 487 U.S. 1012, 1017 (1988); Pennsylvania v. Ritchie, 480
             ____                              ____________    _______

          U.S.  39, 51 (1987);  see also Ohio  v. Roberts, 448  U.S. 56, 63
                                ___ ____ ____     _______

          (1980)  (discussing the  Confrontation  Clause's "preference  for

          face-to-face  confrontation").     Ordinarily,  then,  when   the

          government purposes to introduce a deposition at trial in lieu of

          live testimony,  a defendant has  the right to be  present during

          the  deposition  so that  he  may  confront  the deponent.    See
                                                                        ___

          Christian v. Rhode, 41 F.3d 461, 465 (9th Cir. 1994); Don v. Nix,
          _________    _____                                    ___    ___

          886 F.2d 203, 206 (8th Cir. 1989).

                    Withal,  we  know on  the  best of  authority  that the

          Confrontation Clause cannot be applied mechanically, but, rather,

          must be interpreted  "in the context of the  necessities of trial

          and the adversary  process."  Craig, 497  U.S. at 850.   In other
                                        _____

          words,  the  right  of  confrontation  is  not  absolute.    Yet,

          filtering  constitutional  concerns  through  a  seine  woven  of

          practical   necessity  is   a  tricky  business,   and  different

          situations likely will yield different accommodations.

                    When the  government conducts a Rule 15 deposition in a

          foreign  land with  a view  toward introducing  it at  trial, the

          Confrontation  Clause requires, at a minimum, that the government

          undertake  diligent   efforts  to   facilitate  the   defendant's


                                          10














          presence.  See United States v. Kelly, 892 F.2d 255, 262 (3d Cir.
                     ___ _____________    _____

          1989); United States v. Salim, 855  F.2d 944, 950 (2d Cir. 1988).
                 _____________    _____

          We  caution,  however,   that  although  such  efforts   must  be

          undertaken  in good  faith,  they  need not  be  heroic, and  the

          possibility of  using a  deposition does  not  evaporate even  if

          those efforts prove fruitless.   In that event the district court

          must  determine,  on a  case-specific  basis, whether  reasonable

          alternative  measures  can  preserve adequately  the  values that

          underpin  the defendant's confrontation  rights.  In  cases where

          actions by, or the laws of, a foreign nation effectively preclude

          the  defendant's  presence,  furnishing  the defendant  with  the

          capability for  live monitoring of  the deposition, as well  as a

          separate (private) telephone line for consultation with  counsel,

          usually will  satisfy the  demands of  the Confrontation  Clause.

          See United  States v. Mueller,  74 F.3d 1152, 1156-57  (11th Cir.
          ___ ______________    _______

          1996); Kelly, 892 F.2d at 260; Salim, 855 at 950.
                 _____                   _____

                    C.  The Appellant's Constitutional Challenge.
                    C.  The Appellant's Constitutional Challenge.
                        ________________________________________

                    In this case,  the record reveals that  the prosecution

          made  reasonable and diligent  efforts to secure  the appellant's

          attendance at  Redpath's deposition:   it offered  to defray  the

          cost  of  transporting the  appellant  and  his  counsel  to  the

          deposition   and  requested   that  British   authorities  accept

          temporary custody of  him to ensure his presence.  Only a lack of

          cooperation   by  the   host  nation   stymied  the   appellant's

          appearance,  and the Justice  Department was powerless  to coerce

          British assistance.   The appellant  points to nothing  more that


                                          11














          the prosecution plausibly  could have done to  facilitate a face-

          to-face   confrontation.    What   is  more,  when   the  British

          authorities   balked,   Judge  Keeton   fashioned   a  reasonable

          alternative,   and  the   prosecution   provided  the   requisite

          telephonic  links between  the appellant's  prison  cell and  the

          Solihull Magistrates' Court.  Under the prevailing circumstances,

          the   government's  efforts  to  secure  (or,  alternatively,  to

          approximate) a  face-to-face confrontation  were constitutionally

          adequate.

                    This   finding,  in   itself,  does   not  defeat   the

          appellant's constitutional challenge.  Face-to-face confrontation

          in a  courtroom setting  has yet another  virtue; it  permits the

          trier of fact better to observe a witness's demeanor.  See Craig,
                                                                 ___ _____

          497  U.S. at 846;  Drogoul, 1 F.3d  at 1552.   Like the  right of
                             _______

          confrontation itself, however, this value is not absolute.  Thus,

          even  when a  witness is  unavailable  to testify  at trial,  the

          Clause  countenances  the  admission  of  certain   extrajudicial

          statements   as  long  as  they  possess  sufficient  indicia  of

          reliability.  See Roberts, 448 U.S. at 65-66; Puleio v. Vose, 830
                        ___ _______                     ______    ____

          F.2d 1197, 1205 (1st Cir. 1987).

                    For  this  purpose,  "[r]eliability   can  be  inferred

          without  more in a case where  the evidence falls within a firmly

          rooted hearsay exception."   Roberts, 448 U.S.  at 66.  So  it is
                                       _______

          here:   Fed.  R. Evid.  804(b)(1) limns  a hearsay  exception for

          former testimony  of an  unavailable witness.   This  exception's

          roots are deeply embedded in  American jurisprudence.  See, e.g.,
                                                                 ___  ____


                                          12














          Mattox v. United States, 156 U.S. 237, 240-44 (1895).  Consistent
          ______    _____________

          with   this  tradition,  courts  seem  disinclined  to  find  any

          Confrontation Clause  transgression when  the prosecution  offers

          deposition testimony under this rule.  See, e.g., Ecker v. Scott,
                                                 ___  ____  _____    _____

          69 F.3d 69, 71 (5th Cir. 1995); Kelly, 892 F.2d at 261-62; Salim,
                                          _____                      _____

          855 F.2d at 954-55.  We join  these courts and hold that evidence

          properly within  the former  testimony hearsay  exception is,  by

          definition,   not  vulnerable  to  a  challenge  based  upon  the

          Confrontation Clause.

                    To  bring  Redpath's  testimony within  the  protective

          embrace of this  holding, the government had to  make a threshold

          showing (1)  that the witness  was unavailable, and (2)  that the

          deposition constituted former testimony.  The appellant  contests

          both points.

                    The  standard test  for unavailability  is  whether the

          witness's  attendance  could  be procured  "by  process  or other

          reasonable  means."   Fed. R.  Evid.  804(a)(5).   In a  criminal

          context, however, Confrontation  Clause concerns  color the  Rule

          804  availability inquiry and  heighten the  government's burden.

          See Ecker, 69 F.3d at 71-72.  Thus, the prosecution must actively
          ___ _____

          attempt  to  secure   the  witness's  presence  at  trial.    See
                                                                        ___

          Christian, 41  F.3d  at  467.   Here,  as  we  noted  above,  the
          _________

          government made an assiduous effort to convince Redpath to attend

          the  trial.   We  fail to  discern any  further  action that  the

          prosecutor  reasonably  could  have taken  to  bring  the witness

          before the jury.


                                          13














                    The remaining question  is whether Redpath's deposition

          amounted  to "former  testimony"  within the  purview of  Fed. R.

          Evid. 804(b)(1).   The appellant's  objection on this score  is a

          bare assertion that the method of transcribing the proceeding was

          "slow and inexact."2  We  must balance this complaint against the

          dominant   characteristics   of  the   deposition,   namely,  the

          administration of an oath; unlimited direct and cross-examination

          by attorneys  for all parties;  the ability to  lodge objections;

          oversight  by  a   judicial  officer;  the  compilation   of  the

          transcript by  a trained  solicitor; and the  lack of  a language

          barrier.

                    To  be  sure, the  deposition  did not  comport  in all

          respects with American practice, but that circumstance alone does

          not  render the  testimony  not  "in  compliance  with  law"  and

          therefore beyond the  reach of Rule 804(b)(1).  We agree with the

          Second Circuit that "unless the manner of examination required by

          the  law  of  the  host   nation  is  so  incompatible  with  our

          fundamental principles  of fairness or so prone  to inaccuracy or

          bias  as to render  the testimony inherently unreliable,  . . . a

          deposition taken  . . .  in accordance with  the law of  the host

          nation is  taken `in  compliance with law'  for purposes  of Rule

          804(b)(1)."   Salim,  855 F.2d  at 953.   The  British proceeding
                        _____

                              
          ____________________

               2The  appellant   offers  no  convincing  examples   of  any
          inexactitude.   His  only  supporting  datum  is  an  unamplified
          statement  by  counsel  for  MIL,  as follows:    "There  is  one
          particular  phrase that has    that is a  crucial question that I
          remember  going  in  as  a different  question."    The  specific
          question and answer never have been identified.

                                          14














          substantially  jibes with  our practice  and  thus satisfies  the

          rule.

                    The  appellant's  final  plaint  is  that  the  Redpath

          deposition was not  videotaped.  History undermines  this plaint.

          The  former  testimony  exception  to  the  Confrontation  Clause

          predates  the development of  videotaping technology by  nearly a

          century.  See Mattox,  156 U.S. at 240-44.   Thus, the  exception
                    ___ ______

          obviously does not envision the need to present the trier of fact

          with a video recording  of the declarant's testimony.   In a case

          like this one   where the host nation prohibits videotaping   the

          district  court's refusal to  condition its authorization  of the

          deposition on  the use  of such  a technique did  not offend  the

          Constitution.

                    We hasten  to add, however, that our opinion should not

          be read to  discourage the use of videotaped  depositions in this

          type  of  situation.    Having  the trier  of  fact  observe  the

          testimonial  demeanor   of   the   witness   enhances   important

          Confrontation Clause values, including the perception of fairness

          in criminal trials.  See Craig, 497 U.S. at 846; Coy, 487 U.S. at
                               ___ _____                   ___

          1018-20.     For  these  reasons,  although  videotaping  is  not

          constitutionally  required,  we  urge  the  district  courts,  if

          videotaping  is   feasible,  to  give  serious  consideration  to

          granting defendants' requests to employ the technique.

                    To  sum up, the  Redpath deposition satisfies  the Rule

          804(b)(1)  standard.   Moreover,  the very  characteristics which

          contribute to that conclusion    e.g., administration of an oath;


                                          15














          unlimited   direct  and   cross-examination;  ability   to  lodge

          objections; oversight by  a judicial officer; compilation  of the

          transcript by a trained solicitor; and linguistic compatibility  

          also provide  sufficient indicia  of reliability  to assuage  any

          reasonable  Confrontation Clause concerns.  See Roberts, 448 U.S.
                                                      ___ _______

          at 66; Salim, 855 F.2d at 954-55.  The district court did not err
                 _____

          in admitting the deposition testimony into evidence.

          III.  THE CONSPIRACY CONVICTION 
          III.  THE CONSPIRACY CONVICTION 

                    The appellant launches a  barrage of nearly unthirlable

          arguments  directed  toward  his  conviction  for  conspiracy  to

          violate IEEPA.  These arguments land well wide of the mark.

                    IEEPA  codifies Congress's intent  to confer  broad and

          flexible power upon the President to impose  and enforce economic

          sanctions against  nations that the  President deems a  threat to

          national security interests.   See United States v.  Arch Trading
                                         ___ _____________     ____________

          Co., 987 F.2d  1087, 1093-94 (4th  Cir. 1993).   Included in  the
          ___

          President's IEEPA authority is the right to prohibit persons from

          engaging  in  commercial transactions  with such  hostile foreign

          nations.  See  U.S.C.   1702(a)(1)(B).  The  appellant reads this
                    ___

          provision  as applying  only to  persons who  are subject  to the

          jurisdiction  of the  United  States.   He  then  posits that  as

          neither of his  supposed accomplices fell within  the territorial

          jurisdiction  of  the  United States  when  the  events  at issue

          transpired   McNeil and Sullivan are  domiciliaries of the United

          Kingdom  and Malta, respectively, and neither of them entered the

          United States during  the relevant time frame   they could not in


                                          16














          terms violate IEEPA.  A  person cannot conspire with himself, the

          appellant's thesis runs, and to suggest that McNeil  and Sullivan

          were coconspirators  in this  matter implies  that IEEPA's  reach

          extends extraterritorially    a result inconsonant with  both the

          statutory  text   and   the   traditional   presumption   against

          extraterritoriality.   See United  States v. Nippon  Paper Indus.
                                 ___ ______________    ____________________

          Co.,  109 F.3d  1, 3  (1st Cir.),  petition for  cert.  filed, 65
          ___                                ________ ___  _____  _____

          U.S.L.W. 3839 (U.S. June 13, 1997) (No. 96-1987).   Based on this

          reasoning,  the  appellant  concludes that  any  agreement  among

          McNeil,  Sullivan,  and  himself concerning  the  exportation  of

          computers  to  Libya  cannot  form  the  basis  for a  conspiracy

          conviction.

                    This  theory  is  both procedurally  and  substantively

          infirm.  As  a matter of procedure, the theory makes its debut in

          McKeeve's appellate brief, and "[i]f any  principle is settled in

          this  circuit,  it   is  that,  absent  the   most  extraordinary

          circumstances,  legal theories not  raised squarely in  the lower

          court  cannot  be  broached  for  the  first  time  on   appeal."

          Teamsters, Chauffeurs, Warehousemen &amp; Helpers Union  v. Superline
          ___________________________________________________     _________

          Transp. Co.,  953 F.2d  17, 21  (1st Cir.  1992).   There are  no
          ___________

          excusatory circumstances here.

                    Despite this procedural  default, we could still,  as a

          matter of discretion,  review the argument for plain  error.  See
                                                                        ___

          United States v. Taylor,  54 F.3d 967, 972 (1st Cir.  1995).  But
          _____________    ______

          so detailed a review is unnecessary here, for there is  no error,

          plain or otherwise.  The  appellant's theory overlooks a critical


                                          17














          component  of IEEPA's  framework.    Among  other  things,  IEEPA

          expressly   confers  on  the  President  the  power  to  prohibit

          commercial  transactions  with  certain   foreign  nations  "with

          respect to any property . . . subject to the jurisdiction  of the

          United States."  50 U.S.C.    1702(a)(1).  The computer equipment

          around  which the conspiracy centered was stored in Massachusetts

          and  unquestionably subject  to the  jurisdiction  of the  United

          States.  Accordingly,  as long as either McNeil  or Sullivan knew

          the  locus of the equipment and knew that U.S. law prohibited its

          export to Libya,3 the ensuing agreement with the appellant had an

          unlawful  design  sufficient to  animate  the  federal conspiracy

          statute.

                    In the case at hand, the government adduced ample proof

          of both propositions.  The record contains abundant evidence that

          McNeil,  at  least, was  aware  of U.S.  export  restrictions and

          purposefully sought  to evade them.   Of particular note  are her

          successful  efforts to  coerce Rucker  into signing  an SED  that

          falsely described  the ultimate destination of the  goods and her

          countermanding of the suggestion that  the goods be discharged in

          Antwerp.  In addition,  the nisi prius roll shows  beyond hope of

          contradiction  that the  appellant  performed  an  overt  act  in

          furtherance of  the conspiracy  when he  purchased the  equipment

                              
          ____________________

               3To  support the conviction,  the government only  needed to
          prove that  the appellant conspired  with one other person.   See
                                                                        ___
          United States  v. Josleyn,  99 F.3d 1182,  1190 (1st  Cir. 1996),
          _____________     _______
          cert.  denied, 117  S.  Ct.  959 (1997).    The government  never
          _____________
          alleged that MIL was a coconspirator, so our choice is limited to
          McNeil or Sullivan.

                                          18














          from NEXL  in Massachusetts  and attempted to  ship it  to Libya.

          McKeeve's purchase  supplied the final  piece of proof  needed to

          ground a conviction on the conspiracy count.  See Ford  v. United
                                                        ___ ____     ______

          States, 273 U.S. 593, 620 (1927) (holding that, when a conspiracy
          ______

          "was directed  to violation of  the United States law  within the

          United States by  men within and without it,  and everything done

          was at the procuration and by the agency of each for the other in

          pursuance of the conspiracy . .  . all are guilty of the  offense

          of conspiring to  violate the United States law  whether they are

          in or out  of the country"); United  States v. Inco Bank  &amp; Trust
                                       ______________    __________________

          Corp.,  845 F.2d  919,  920  n.4 (11th  Cir.  1988) (per  curiam)
          _____

          (noting "that  a conspiracy  occurring partly  within the  United

          States   is  prosecutable  without   resort  to  any   theory  of

          extraterritorial jurisdiction"); Rivera v. United States, 57 F.2d
                                           ______    _____________

          816,  819  (1st Cir.  1932)  ("The  place  of the  conspiracy  is

          immaterial   provided  an  overt  act  is  committed  within  the

          jurisdiction of the court.").  No more is exigible.

          IV.  OTHER ALLEGED TRIAL ERRORS
          IV.  OTHER ALLEGED TRIAL ERRORS

                    The  appellant  raises  a host  of  issues  that relate

          loosely  to his oft-repeated claim that he did not receive a fair

          trial.   Individually,  these issues  are  insubstantial, and  in

          combination they produce no synergistic effect.

                        A.  Admission of Sullivan's Statement.
                        A.  Admission of Sullivan's Statement.
                            _________________________________

                    In  a  protest  that  harks  back  to  his  sufficiency

          challenge,  the appellant takes umbrage with the district court's

          decision to admit,  over his objection, evidence  of certain out-


                                          19














          of-court  statements allegedly made by Sullivan to third parties.

          The  statements, as recounted by Redpath, specifically linked the

          appellant to Sullivan; showed that Sullivan acted throughout with

          a view toward transshipping the computer equipment through Cyprus

          to  Libya;  and  undermined the  appellant's  testimony  that his

          attempt to off-load the equipment in Antwerp was not a ruse, but,

          rather, a sincere effort to  abort the transaction once he became

          aware  that it  would violate  U.S. law.   We  customarily review

          decisions to  admit or exclude evidence for  abuse of discretion,

          see  United States  v. Houlihan,  92  F.3d 1271,  1296 (1st  Cir.
          ___  _____________     ________

          1996), cert.  denied, 117 S.  Ct. 963 (1997), and  we follow that
                 _____  ______

          praxis here.

                    The trial court admitted the challenged evidence on the

          authority  of  Fed.  R.  Evid.  801(d)(2)(E),  which  creates  an

          exception to the hearsay rule for  extrajudicial statements "by a

          coconspirator of a party during  the course and in furtherance of

          the  conspiracy."   The appellant's  principal  objection to  the

          court's action stems  from his extraterritoriality argument.   We

          previously rejected  that argument, see  supra Part III,  and the
                                              ___  _____

          theory  that undergirds  it  fares no  better  in an  evidentiary

          context.

                    The second  prong of the appellant's objection suggests

          that  the  government  did  not  adduce  sufficient  evidence  of

          Sullivan's involvement to  bring his statements within  the reach

          of Rule  801(d)(2)(E).  This  prong rests on an  impeccable legal

          foundation.    An  out-of-court  statement  of  a  non-testifying


                                          20














          coconspirator is admissible  under Rule 801(d)(2)(E) only  if the

          district court supportably finds that "it is more likely than not

          that  the  declarant  and  the  defendant  were  members  of  the

          conspiracy when  the  hearsay statement  was made,  and that  the

          statement was in furtherance  of the conspiracy."  United  States
                                                             ______________

          v. Petrozziello, 548  F.2d 20, 23 (1st Cir.  1977); accord United
             ____________                                     ______ ______

          States v. Ortiz, 966 F.2d 707, 715 (1st Cir. 1992).
          ______    _____

                    Factually,  however,  the  objection falls  flat.   The

          government showed  that Sullivan  headed Afromed;  that his  name

          appeared   on  numerous   documents  created   pursuant  to   the

          transaction;  that he was in constant  contact with the appellant

          regarding the status of the project (including the customs hold);

          and  that he was  responsible for arranging  transshipment of the

          goods to the Libyan purchaser.  The record also shows that, while

          in the  United States,  the appellant sent  Sullivan a  memo that

          advised Sullivan to use extreme  caution in contacting him and to

          be very careful what he said in any such communication.  In light

          of  this  evidentiary   predicate,  the  district  court   had  a

          reasonable  basis  for  concluding that,  more  likely  than not,

          McKeeve  and Sullivan  were  coconspirators and  that  Sullivan's

          comments to  Redpath were made  during and in furtherance  of the

          conspiracy.   Consequently,  the  decision  to  admit  Sullivan's

          hearsay  statements under  the  coconspirator  exception did  not

          constitute an abuse of discretion.

                          B.  Admission of Lane's Testimony.
                          B.  Admission of Lane's Testimony.
                              _____________________________

                    During  trial, Eric Lane,  a British  customs official,


                                          21














          testified that  the appellant  spoke to  him anent  DTI's earlier

          warning that  virtually all computers  sent to Libya ended  up in

          arms  factories.   The appellant  objected to  this  testimony on

          relevancy  grounds and added  that, to  the extent  the testimony

          might  otherwise be  admissible, it  was unduly prejudicial.   He

          argued  then, and  reasserts now,  that since  U.S. law  bans the

          export  of any product  (except certain humanitarian  aid) to any

          Libyan entity, the fact that  a DTI official had warned him  that

          computer shipments would be used to outfit Libyan arms  factories

          is irrelevant  to any crime charged  in the indictment.   For its

          part, the government points to the appellant's admission  that he

          knew all along  that the U.S. embargo at  least paralleled United

          Nations  sanctions   (which  explicitly  prohibit   the  sale  of

          equipment destined for  Libyan military applications),  and that,

          in light of this  admission, Lane's testimony tended  to undercut

          the appellant's  claim  that  he  did  not  realize  the  Afromed

          transaction transgressed U.S. law.

                    The district court accepted  the government's position,

          but told the jury that  it could consider the proffered testimony

          only with  regard to  McKeeve's state of  mind (i.e.,  whether he

          plotted to contravene  the Libyan embargo in knowing violation of

          IEEPA) and  not for the truth of the  matter asserted.  We review

          this decision  for abuse of discretion.  See Houlihan, 92 F.3d at
                                                   ___ ________

          1297.  We detect no abuse either in the trial court's decision to

          admit Lane's testimony as probative of McKeeve's state of mind or

          in its refusal to exclude the proffer under Fed. R. Evid. 403.


                                          22














                    The relevancy objection requires  scant comment.   Fed.

          R. Evid.  401 deems relevant  evidence that has "any  tendency to

          make  the existence  of any fact  that is  of consequence  to the

          determination of the action more  probable or less probable  than

          it  would  be  without the  evidence."    The  instant indictment

          charged the appellant with knowingly and willfully violating, and

          conspiring to violate, IEEPA.  His state of mind, assessable only

          by  indirect proof,  see United  States v.  St. Michael's  Credit
                               ___ ______________     _____________________

          Union,  880  F.2d 579,  600  (1st  Cir.  1989), was  of  critical
          _____

          importance to the resolution of these charges.  When, as now, the

          prosecution offers evidence  bearing on an inherently  subjective

          inquiry, the  relevancy threshold is  at its lowest.   See United
                                                                 ___ ______

          States v. Tierney,  760 F.2d 382, 387  (1st Cir. 1985).   Seen in
          ______    _______

          this light,  Judge Keeton reasonably could conclude   as, indeed,

          he did    that McKeeve's knowledge of  the likely end use  of the

          computer equipment tended to make less probable his state-of-mind

          defense.    Hence,  the  judge  did  not  err  in  admitting  the

          statement.

                    The Rule 403  objection is similarly unavailing.   That

          rule directs a trial court to exclude relevant evidence if, inter
                                                                      _____

          alia, "its  probative value  is substantially  outweighed by  the
          ____

          danger of unfair prejudice."  But almost all evidence is meant to

          be prejudicial   why else would  a party seek to introduce it?   

          and  it  is  only  unfairly  prejudicial evidence  that  must  be

          banished.   See United States v. Rodriguez-Estrada, 877 F.2d 153,
                      ___ _____________    _________________

          156  (1st Cir.  1989).    Although the  Lane  testimony may  have


                                          23














          prejudiced the  appellant in  the sense that  it fit,  tongue and

          groove,  into the  prosecution's  theory of  the  case, there  is

          nothing unfair  about the jury's  weighing of it for  the limited

          purpose of determining  the appellant's state of mind.   For this

          reason, we decline the appellant's invitation to second-guess the

          district  judge's evidentiary gravimetry.  See Freeman v. Package
                                                     ___ _______    _______

          Mach. Co., 865 F.2d  1331, 1340 (1st Cir.  1988) ("Only rarely   
          _________

          and in extraordinarily  compelling circumstances   will  we, from

          the vista of a cold  appellate record, reverse a district court's

          on-the-spot   judgment  concerning   the  relative   weighing  of

          probative value and unfair effect.").

                         C.  Admission of Harmon's Testimony.
                         C.  Admission of Harmon's Testimony.
                             _______________________________

                    The appellant also cries foul in respect to a statement

          made at trial by David Harmon, a Treasury Department official, to

          the effect  that the U.S.  embargo against Libya resulted  from a

          presidential  determination  that  Libya  supports  international

          terrorism.  Because the appellant did not lodge a contemporaneous

          objection  to  this  testimony, we  ordinarily  would  review his

          belated challenge for plain error.  See United States v. Griffin,
                                              ___ _____________    _______

          818  F.2d  97,  99-100  (1st  Cir. 1987).    Here,  however,  the

          circumstances  obviate any need to  engage in plain error review.

          See United States v. Castro-Lara, 970 F.2d 976, 981 n.5 (1st Cir.
          ___ _____________    ___________

          1992) (explaining that, if  no error inheres, plain error  review

          becomes a superfluous step).

                    The government called Harmon to establish the existence

          and  effect  of  the economic  sanctions  imposed  against Libya.


                                          24














          Harmon's description of  the purpose behind the  embargo provided

          the  jury with  relevant background  information  that helped  to

          stitch together an  appropriate context in  which the jury  could

          assess  the  evidence  introduced during  the  trial.   Admitting

          Harmon's statement  was well  within the  realm  of the  district

          court's discretion.   See, e.g.,  Castro-Lara, 970  F.2d at  981;
                                ___  ____   ___________

          United  States v.  Daly,  842  F.2d 1380,  1388  (2d Cir.  1988).
          ______________     ____

          Trials are meaty affairs, and  appellate courts should not insist

          that all  taste be extracted  from a piece  of evidence before  a

          jury can chew on it.

                            D.  Prosecutorial Misconduct.
                            D.  Prosecutorial Misconduct.
                                ________________________

                    The appellant's next assignment of error  is predicated

          on a  claim  that the  prosecutor overstepped  her bounds  during

          opening and  closing arguments.   This claim is  a superscription

          that grows out of the prosecutor's references to Lane's testimony

          in her  opening  statement  and  to  Harmon's  testimony  in  her

          summation.  Because the prosecutor, on each occasion, did no more

          than describe accurately  testimony that the  jury would hear  or

          already  had heard, the  assignment of error fails.   At least in

          the  absence of  highly  exceptional circumstances  (not  present

          here), a comment by counsel in  the course of jury summation that

          merely  recounts  properly  admitted  testimony,  accurately  and

          without embellishment or distortion, cannot constitute reversible

          error.  See  Jentges v. Milwaukee County Circuit  Court, 733 F.2d
                  ___  _______    _______________________________

          1238, 1242 (7th Cir. 1984).  So, too, a comment  in the course of

          an  opening statement that  merely presages subsequently admitted


                                          25














          testimony cannot constitute reversible error.  See id.
                                                         ___ ___

          V.  SENTENCING
          V.  SENTENCING

                    The  district court sentenced the appellant to a prison

          term  of 51  months,  the  low end  of  the applicable  guideline

          sentencing range (offense level 24; criminal history category I).

          Salvaging scant succor from  this fact, the appellant  strives to

          persuade  us that  the  court  made two  material  errors in  its

          sentencing calculations.  We are unconvinced.

                      A.  Evasion of National Security Controls.
                      A.  Evasion of National Security Controls.
                          _____________________________________

                    With respect to export control offenses, the sentencing

          guidelines provide  for a base  offense level (BOL) of  14 unless

          "national  security  or   nuclear  proliferation  controls   were

          evaded," in which case the BOL escalates to 22.   USSG  2M5.1(a).

          The lower  court found that  the offense of  conviction qualified

          for the eight-level enhancement.  The  appellant claims that this

          ruling  is  based on  an  erroneous  reading  of the  enhancement

          provision.  Because  this claim implicates the  meaning and scope

          of the guideline, our  review is plenary.   See United States  v.
                                                      ___ _____________

          Muniz, 49 F.3d 36, 41 (1st Cir. 1995).
          _____

                    The  appellant's   core   contention   is   that   USSG

           2M5.1(a)(1)  cannot apply  in a  sale-of-goods  case unless  the

          government presents evidence  that the particular goods,  when or

          if sold,  constitute an actual  threat to national security.   We

          disagree.    In   Executive  Order  No.  12,543,   the  President

          determined  that Libya posed an "unusual and extraordinary threat

          to the national security and foreign policy of the United States"


                                          26














          and  therefore ordered  an embargo  covering  the exportation  of

          virtually all  goods to  Libya.   The embargo  is an  exercise of

          executive power authorized by IEEPA "to deal with any unusual and

          extraordinary threat .  . . to the national security."  50 U.S.C.

            1701.  In short, the embargo is intended as a national security

          control.

                    That   ends  the  matter.    As  we  read  it,  section

          2M5.1(a)(1) applies to  any offense that involves  a shipment (or

          proposed shipment)  that offends the embargo, whether  or not the

          goods shipped actually  are intended for some innocent  use.  See
                                                                        ___

          United States v. Shetterly, 971 F.2d 67, 76 (7th Cir. 1992).  The
          _____________    _________

          appellant's  argument to  the contrary  seeks  to substitute  the

          judgment of a factfinder for  that of the executive branch, which

          has made  a determination that the export  of any goods to Libya,

          excepting  only  certain  humanitarian  aid,  threatens  national

          security interests.  Such a course is fraught with separation-of-

          powers perils, see Department of the Navy v. Egan, 484 U.S.  518,
                         ___ ______________________    ____

          527 (1988)  (noting the primacy of presidential  power to protect

          national security interests), and we eschew it.

                             B.  Obstruction of Justice.
                             B.  Obstruction of Justice.
                                 ______________________

                    The   appellant's   remaining  complaint   is   equally

          unavailing.    At  the disposition  hearing,  the  district court

          increased the  appellant's BOL for  obstruction of justice.   See
                                                                        ___

          USSG  3C1.1.   The  court based this  two-level enhancement  on a

          finding  that McKeeve committed perjury when he testified that he

          did  not  know  his  actions  violated U.S.  law.    We  review a


                                          27














          sentencing  court's factbound finding of perjury for clear error.

          See United States v. Akitoye, 923 F.2d 221, 229 (1st Cir. 1991).
          ___ _____________    _______

                    Before imposing an  obstruction of justice  enhancement

          predicated  on  perjurious  testimony,  a sentencing  court  must

          survey the  trial evidence  to ascertain  whether it  establishes

          that  the defendant gave  "false testimony concerning  a material

          matter  with the willful intent to provide false testimony rather

          than  as  a result  of  confusion,  mistake, or  faulty  memory."

          United States v. Dunnigan,  507 U.S. 87, 94 (1993).   The court's
          _____________    ________

          findings need  not be precise  to the  point of pedantry.   While

          separate   findings  as  to  each  element  are  preferable,  the

          sentencing court's  determination is  sustainable so  long as  it

          "encompasses all of the factual predicates."  Id. at 95.  This is
                                                        ___

          such a case.

                    The  appellant  does  not   challenge  the  materiality

          component  of the  district court's  determination.   Rather,  he

          concentrates  his fire  on  the  finding of  falsity.   He  cites

          language  that  once  appeared  in  the  Sentencing  Commission's

          commentary, USSG  3C1.1,  comment. (n.1) (Nov. 1995)  and earlier

          editions, to  the  effect  that  in applying  section  3C1.1  "in

          respect  to  alleged   false  testimony  or  statements   by  the

          defendant, such testimony or statements should be  evaluated in a

          light  most favorable  to  the defendant,"  and  claims that  the

          sentencing court  erred by  failing to  consider his  testimonial

          statements accordingly.

                    The  most recent version of the guidelines deleted this


                                          28














          language,  see USSG  App. C, amend.  566 (Nov. 1997),  but it was
                     ___

          zoetic  at the  time of  the  appellant's sentencing,  and he  is

          therefore  entitled  to  its  benefit.    See  United  States  v.
                                                    ___  ______________

          Harotunian, 920  F.2d 1040, 1041-42  (1st Cir. 1990).   But, this
          __________

          circumstance does not profit  McKeeve.  His suggested reading  of

          the language would allow "the  safeguard [to] swallow the rule in

          a  single  gulp," Akitoye,  923 F.2d  at  228, and  we  long have
                            _______

          rejected  it.   In its  heyday the  now-discarded language  never

          required sentencing  courts to resolve all  evidentiary conflicts

          to the defendant's benefit.  Thus, a sentencing court required to

          apply that language today need only construe allegedly perjurious

          statements  in a defendant-favorable  way if such  statements are

          genuinely  ambiguous   or  if  the   record,  after   credibility

          determinations have  been made,  plausibly  supports an  innocent

          interpretation.  See   United States v.  Clark, 84 F.3d  506, 510
                           ___   _____________     _____

          (1st Cir.), cert. denied, 117 S. Ct. 272 (1996).
                      _____ ______

                     Here, the overwhelming weight of the credible evidence

          contradicted the appellant's professions of  ignorance.  Numerous

          witnesses testified to incriminating statements and  conduct that

          occurred before the appellant claims he became aware  of possible

          legal  problems.  This evidence  strongly supports a finding that

          the  appellant knew all along that  his actions were illegal.  In

          these  circumstances, the obsolete language is inapposite and the

          district court's finding of perjury is unimpugnable.

                    The supportability of this finding likewise defeats the

          appellant's related claim that the two-level enhancement punished


                                          29














          him for exercising his constitutional right to testify in his own

          defense.  That  right, though precious, does not  include a right

          to commit perjury.  See Dunnigan, 507 U.S. at 96.
                              ___ ________

          VI.  CONCLUSION
          VI.  CONCLUSION

                    We  need  go  no  further.   To  the  extent  that  the

          appellant  rolls out other arguments, they are plainly inadequate

          and do  not warrant  discussion.   The short  of it  is that,  in

          colloguing to  sell computer equipment  to Libya, McKeeve  spun a

          tangled international  web that ultimately ensnared  its creator.

          For that conduct, he was  lawfully indicted, fairly tried, justly

          convicted, and appropriately sentenced.



                    Affirmed.
                    Affirmed.
                    ________




























                                          30









